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                                 UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF OHIO
                                       EASTERN DIVISION


     IN RE: NATIONAL PRESCRIPTION                   )       CASE NO. 1:17-MD-2804
     OPIATE LITIGATION                              )
                                                    )       David R. Cohen
     THIS DOCUMENT RELATES TO:                      )       Randi S. Ellis
     “All Cases”                                    )       Hon. David R. Herndon
                                                    )
                                                    )       FEE PANEL ORDER NO. 32:
                                                    )       PRELIMINARY RECOMMENDED
                                                    )       COMMON BENEFIT FEE AWARDS


                                                  Prologue

            Certain parties in this MDL entered into global Subdivision and Tribal Settlement

     Agreements with nine settling defendants. Each Settlement Agreement provided that: (1) there

     would be a Common Benefit Fee Fund; (2) counsel could apply to receive Awards from those Fee

     Funds; and (3) the undersigned Fee Panel would recommend Award amounts to Judge Polster.

            With this Order, the Fee Panel sets out its preliminary recommended Common Benefit Fee

     Awards. The Panel’s preliminary recommendations are shared here confidentially only with

     applicants at this time; the Panel will file its final recommendations on the MDL docket, after

     addressing any objections it may receive pursuant to Section VI of this Order, below. The

     preliminary recommendations are listed in the Award Chart attached to the end of this Order. The

     sections below explain the Panel’s rationales.



     I.     Introduction.

            In this multidistrict litigation, various species of plaintiff sued various species of defendant
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     for allegedly fomenting an opioid epidemic in the United States. The defendant species, which are

     all connected to the production and delivery of pharmaceutical opioids, include manufacturers,

     distributors, pharmacies, and pharmacy benefit managers. The plaintiff species, which all claim they

     suffered various harms associated with increased societal opioid addiction rates, include cities and

     counties (“governmental Subdivisions,” or “Subdivisions”), Indian Tribes, hospitals, third party

     payors, and individuals.

            In July of 2021, the Subdivision plaintiffs reached global settlements with four of the

     defendants: manufacturer Janssen, and distributors Cardinal Health, McKesson, and

     AmerisourceBergen (n/k/a Cencora). The operative Settlement Agreements each contained an

     “Exhibit R: Agreement on Attorneys’ Fees, Costs, and Expenses.” In relevant part, Exhibit R

     provides that: (1) the settling defendants will create an “Attorney Fee Fund,” which consists of two

     sub-funds – the “Contingent Fee Fund” and the “Common Benefit Fund;” (2) each defendant would

     deposit into the Common Benefit Fund an amount certain over a specific time period; and (3) the

     MDL Court would appoint a three-person “Fee Panel” to administer the Attorney Fee Fund.1 The

     MDL Court subsequently appointed the undersigned (Judge David R. Herndon (ret.), Randi S. Ellis,

     and David R. Cohen) as the constituents of the Fee Panel. See docket no. 3828 at 8.

            In November and December of 2022, the Subdivision plaintiffs reached global settlements

     with five additional defendants: manufacturers Teva and Allergan, and pharmacies CVS, Walgreens,


            1
               See Distributors Settlement Agreement, Exhibit R §I.C-E & I at R%1-2; §II.A.5 at R%3; and
     §II.C.1 at R%4. All citations to Exhibit R in this Order are to the Distributors Settlement Agreement.
     The Exhibit Rs in the other Settlement Agreements are largely (but not completely) identical, except
     for amounts. For ease of reference, this Order refers to “Exhibit R” in the singular, but the
     discussion applies to all such Exhibit Rs collectively. The Subdivision Settlement Agreements are
     all available at www.NationalOpioidSettlement.com, and their Exhibit Rs are all available at
     www.OpioidFeePanelDocuments.com.

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     and Walmart. Each of these Settlement Agreements also contained a materially identical “Exhibit

     R.”

            In each Exhibit R, the Fee Panel is charged with “design[ing] the process and procedures for

     the allocation of fees pursuant to this Fee Agreement and the MDL Court’s Order.” Exhibit R

     §II.A.3 at R%3. One of the principal obligations of the Fee Panel is to “determine the allocation of

     [Common Benefit] funds to eligible Attorneys.” Id. §II.C.3 at R%5.2 Accordingly, the Fee Panel is

     charged with allocating all of the money in the various Common Benefit Funds established under

     the global Settlement Agreements between the Subdivisions and the nine above-listed defendants.

            In addition to reaching global settlements with the Subdivisions, each of the nine settling

     defendants also reached global Settlement Agreements with Indian Tribes. The Tribal Settlement

     Agreements, however, did not include an “Exhibit R.” Rather, the Tribal Agreements each

     addressed Attorney Fees by stating a certain percentage of the total settlement funds would be “set

     aside . . . for the Attorney Fee Fund,” and “[t]he procedures to allocate and disburse the Attorney

     Fee Fund to Litigating Tribes’ counsel [would then] be the subject of a separate document.” See,

     e.g., Janssen Tribal Settlement Agreement §IV.B.1 at 11; §VII.A at 18.3 The “separate document”

     is Tribal Contingency Fee Payment Order No. 1, which provides that 7.5% of the total settlement

     amount under each Tribal Settlement Agreement would be set aside “for the Common Benefit

     Assessment as set forth in Judge Polster’s May 9, 2022 Order (ECF No. 4428).” Docket no. 5258




            2
               Exhibit R §I.B at R%1 defines “Attorney” as “a solo practitioner, a multi-attorney law firm,
     or other legal representative of a Participating Subdivision.” Virtually every Attorney that applied
     for a Common Benefit Fee Award was a multi-attorney law firm. The Panel refers below to all
     Attorneys as “applicants.”
            3
                The Tribal Settlement Agreements are all available at: www.TribalOpioidSettlements.com.

                                                       3
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     ¶8 at 4. The Court subsequently ordered that these amounts should also be allocated to counsel by

     the Fee Panel, in conjunction with their allocation work under the Subdivision Settlement

     Agreements. See docket no. 5285. This made sense, because attorneys representing Tribes were

     allowed to apply for Common Benefit Fee Awards from the global Subdivision Settlement

     Agreements. See Exhibit R §I.C.2.b at R%5.

            The upshot of all of this is that the Fee Panel is now charged with allocating a total of about

     $2.13 Billion in Common Benefit Fee Funds, pursuant to the global Subdivision and Tribal

     Settlement Agreements with the nine settling defendants.4 This Order explains the process and

     procedures the Fee Panel designed and undertook to allocate and determine Common Benefit Fee

     Awards.

            As discussed below in Section VI, if an applicant disagrees with its Award, the applicant may


            4
                The following table shows the Common Benefit Fee amounts payable under each
     Settlement Agreement, and the time period over which the amount is paid. These amounts do not
     account for reductions for administrative fees, increases due to interest payments, reductions due
     to less-than-100% plaintiff participation, possible non-payment by a defendant, and so on.
                                  Subdivision Settlements                  Tribal Settlements
                                                   Number of                              Number of
            Defendant        Common Benefit                        Common Benefit
                                                    Payment                                Payment
                                  Amount                                Amount
                                                      Years                                 Years
       Janssen               $ 184,615,385               7         $      10,307,283          2
       AmerisourceBergen $ 240,369,231                   7         $        9,372,000         7
       McKesson              $ 295,421,538               7         $      11,518,491          7
       Cardinal Health       $ 239,593,846               7         $        9,341,768         7
       Teva                  $ 187,977,017               6         $        8,189,586         6
       Allergan              $ 105,069,253               4         $        4,875,057         4
       CVS                   $ 300,369,566               5         $        8,857,573         5
       Walgreens             $ 338,239,505               7         $      10,194,318          7
       Walmart               $ 160,632,226               1         $        5,355,656         1
        Total                $ 2,052,287,567                       $      78,011,732
         Grand Total                                               $          2,130,299,299



                                                      4
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     file an objection with the Panel; and if the applicant disagrees with the Panel’s ruling on its

     objection, the applicant may appeal its Award to the MDL Court.



     II.     The Factors Examined by the Fee Panel.

             Exhibit R provides lengthy instructions on what factors the Fee Panel must assess when

     determining Common Benefit Fee Awards, as well as additional factors the Panel may assess. For

     example, Exhibit R mandates that “the Fee Panel shall give significant weight to the extent to which

     (i) the Attorney and his or her clients have contributed to increasing (or reducing) the Initial

     Participation Tier achieved through participation in the Distributor Agreement; (ii) the Attorney and

     his or her clients have contributed to increasing (or reducing) the amounts achieved under Incentive

     Payments A-D through participation in the Distributor Agreement; and (iii) the Attorney and his or

     her clients have contributed to the potential triggering of any suspension, reduction, or offset of

     Payment amounts under the Distributor Agreement.” Exhibit R §II.C.4 at R%5 (emphasis added).

     Similarly, Exhibit R provides the Panel “will give consideration in regard to Common Benefit

     awards to the Johnson factors.” (emphasis added). Id. §II.H.3 at R%13.5

             In contrast, Exhibit R provides that the Panel “may” consider “[a]ny contingent fee

     agreements or other Fee Entitlement with Participating Subdivisions, enforcement of which, except


             5
               The well-known Johnson factors are: (1) the time and labor required to represent the client
     or clients; (2) the novelty and difficulty of the issues in the case; (3) the skill required to perform the
     legal services properly; (4) the preclusion of other employment by the attorney; (5) the customary
     fee charged for those services in the relevant community; (6) whether the fee is fixed or contingent;
     (7) the time limitations imposed by the client or circumstances; (8) the amount involved and the
     results obtained; (9) the experience, reputation, and ability of the attorney; (10) the undesirability
     of the case; (11) the nature and length of the professional relationship with the client; and (12)
     awards in similar cases. Johnson v. Georgia Highway Exp., Inc., 488 F.2d 714, 717-19 (5th Cir.
     1974).

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     for State Back-Stop Agreements, are waived in conjunction with the application.” Id. §II.H.3.g at

     R%15 (emphasis added). There are numerous other factors which “may be applied,” including: (1)

     “[s]uccessful and unsuccessful motion practice in cases worked on by the [applicant];” (2) “[t]he

     date of filing of any cases filed by the [applicant];” (3) “[o]btaining consolidation of the litigation

     in the [applicant’s] jurisdiction;” and (4) “[t]he number and population of entities represented by the

     [applicant].” Id. §II.H.3.n-q at R%16.

            The Panel counts over 40 separate listed factors, several of which are repeated or overlap.6

     Exhibit R also includes a catch-all provision, allowing the Panel to consider “[a]ny other factors that

     the Fee Panel finds to be appropriate to consider after input from applicants to the Attorney Fee

     Fund.” Id. §II.H.3.x at R%17. As to which are more important, Exhibit R states these “factors may

     be applied and given relative weight in the Fee Panel’s discretion.” Id. §II.H.3.

            To at least some extent, the Panel weighed evidence described by all of the factors listed in

     Exhibit R. This Order sets out a high-level view of a few of the factors the Panel examined.

     Because the “standards and the law” governing Common Benefit Fee Awards are well-known, In

     re Oral Sodium Phosphate Sol.-Based Prod. Liab. Action, 2010 WL 5058454, at *4 (N.D. Ohio Dec.

     6, 2010) (Polster, J.), this Order does not recite them, and instead incorporates them by reference.7




            6
               Regarding repetition, for example, §II.H.3 of Exhibit R requires the Panel to apply the
     Johnson factors, but then goes on to list several of them as factors the Panel “may” apply. See, e.g.,
     §II.H.3.a-d, h, & i at R%15. The Panel examined every factor listed in Exhibit R in its analysis.
            7
              For a recent discussion of applicable law, see In re Flint Water Cases, 583 F. Supp. 3d 911
     (E.D. Mich. 2022); see also In re Sulzer Hip Prosthesis & Knee Prosthesis Liab. Litig., 268 F. Supp.
     2d 907 (N.D. Ohio 2003), affirmed, 398 F.3d 778, 781 (6th Cir. 2005); Ramey v. Cincinnati
     Enquirer, Inc., 508 F.2d 1188, 1196 (6th Cir. 1974). See also 5 Newberg and Rubenstein on Class
     Actions §§ 15:62 et seq. (6th ed. 2022).

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     III.   Gathering Information.

            To assess all the factors listed in Exhibit R, the Fee Panel needed to gather a great deal of

     information. Some of this information was purely quantitative, such as the number of Subdivisions

     represented by the applicant, and the number of hours the applicant claimed it spent doing legal

     work that inured to the plaintiffs’ common benefit. Some of this information was purely qualitative,

     such as the skill required to perform the legal work, and the common benefit value it provided. To

     gather all of the information it needed, the Panel undertook the following approach.

            After the Subdivisions reached their first global settlements in July of 2021, the MDL Court

     entered an Order Establishing Application Protocols for Reimbursement of Common Benefit

     Attorneys’ Fees Under the Janssen and Distributors Settlement Agreements. Docket no. 4344

     (“Protocols Order”). This Order noted that “the Fee Panel has developed protocols for submission

     and review of common benefit time and for the application for and awarding of attorneys’ fees from

     the Settling Distributors and Janssen Common Benefit Fund,” and it “approve[d] these protocols.”

     Id. at 1. The principal aspects of the protocols were that applicants had to submit: (1) Time Reports,

     and (2) Fee Applications. In addition, the Panel engaged in various interviews. Each of these is

     described below.



            A.      Time Reports.

            The information required by the Time Reports was extensive. The Panel employed counsel

     as an “MDL Billing Manager and Auditor” to design and review the process for reporting of time

     by applicants. The Auditor prepared a “Guide to Common Benefit Time Billing Under the

     Distributors and Janssen Settlement Agreements,” which included detailed instructions, examples,


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     and illustrations for completing the Time Report. The Guide made clear that each and every time

     entry required, among other things, a description of the level of attorney that performed the work

     (e.g. “Attorney 10-15 years”), a detailed description of the specific, single task performed (e.g.,

     “prepare for and participate in call with expert Dr. Smith” – block billing was not permitted), and

     a categorization of the type of work (e.g., “Experts/Consultants” or “Tier 2 document review”).

            After receiving these reports, the Auditor identified non-compliant billing entries and

     provided notice to the applicant, pursuant to the audit process established by the Panel. Entries that

     were not corrected were not approved. In addition to not approving a time entry if it was

     insufficiently detailed, the Auditor also did not approve it if it was, among other things: (1)

     needlessly duplicative, or (2) not time that clearly inured to the common benefit, as opposed only

     to the applicant’s own client(s). See docket no. 4344 at 5-7 (listing 16 reasons that time might not

     be approved).

            As noted above, one important set of factors the Panel had to examine was the “the time and

     labor required, the novelty and difficulty of the questions involved, and the skill requisite to perform

     the legal service properly.” Davis v. Mut. Life Ins. Co. of New York, 6 F.3d 367, 382 n.8 (6th Cir.

     1993) (quoting Ohio R. Prof’l Cond. 1.5(a)(1)). The Auditor examined virtually every time entry

     submitted by each applicant. This was an arduous task, as the Panel ultimately received from 97

     applicants a total of 3,454,681 hours of claimed common benefit time. Of this amount, 386,877

     hours, or 11.2%, was eventually voluntarily withdrawn or not approved. The Panel reviewed de

     novo the Auditor’s work, including the categorization of time based on the difficulty and novelty

     of the task – that is, identifying each time entry as being, for example, first tier document review,

     second tier document review, deposition preparation, taking of deposition, examining a witness at


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     trial, and so on. This analysis was toilsome and time-consuming, but it helped provide a careful,

     accurate, thorough, and revealing insight into the total time and value of the performance of each

     applicant.



            B.      Fee Applications.

            In addition to the Time Reports, the Panel also required each applicant to submit a written

     Fee Application. Among other topics, the Fee Application asked the applicant to provide the

     following information:

     •      The percentage of time the applicant spent on opioid litigation, compared to the total time
            the applicant spent on all matters, during each year of the litigation.

     •      The identity of all Subdivisions and Tribes that the applicant represented, and the details on
            when and whether they participated in each settlement.

     •      Details regarding all of the applicant’s employees and agents who performed common
            benefit work, including their: (1) name, (2) contact information, (3) number of years in
            practice, (4) total number of hours spent performing common benefit work, and (5) date of
            first employment by the applicant.

     •      Details of all expected opioid-related compensation of any kind, and any fee split
            arrangements with other counsel.

     •      A description of the extent to which the applicant’s efforts contributed to increasing or
            reducing the Initial Participation Tier and Incentive Payments under the Settlement
            Agreements.

     •      An essay describing all the work the applicant did that inured to the common benefit of all
            plaintiffs. The essay directions specifically asked the applicant to:
                    (1) describe the importance of the common benefit work performed with
            reference to 16 different work categories, including document review, data analysis,
            written discovery, motions and briefing, depositions, experts, trial work, and


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             settlement negotiation;
                      (2) discuss the extent to which the applicant: (a) took a leadership role, and
             (b) produced common benefit work-product that was used by others in parallel
             litigations; and
                      (3) “[p]rovide the Fee Panel with a basis to evaluate your Firm’s work in light
             of the Johnson factors and related factors set out in [Exhibit R §II.H.3].”

      •      Up to ten references.

      •      A list of other plaintiffs’ attorneys whom the applicant believed most contributed to the
             common benefit, and why. This list is discussed further below, in Section III.C.1 of this
             Order.

             Moreover, due to the timing of the different settlements – four defendants settled in July of

      2021, and five settled in November and December of 2022 – the Fee Panel provided applicants with

      the opportunity to submit two Fee Applications. Because the submission deadline for the first

      Application came before the latter five settlements, the Panel designed a second Application to

      receive updates on additional common benefit work that led to the second batch. The second

      Application allowed applicants an additional essay. Ultimately, then, the Panel was presented with

      nearly 3,000 pages of essay material, alone. Along with the Panel’s interviews, these essays

      provided a broad and deep understanding of all of the qualitative factors listed in Exhibit R.



             C.      Interviews.

             In addition to receiving Time Reports and Fee Applications, the MDL Court’s Protocols

      Order provided that “[t]he Fee Panel may also conduct interviews with Fee Applicants at the

      discretion of the Fee Panel, to ask questions regarding information contained in the Fee Applications

      and the Auditor’s Time Report.” Docket no. 4344 at 8; see also Exhibit R §II.H.2 at R%14-15 (the



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      Panel may conduct “interviews with applicants and/or other counsel (including counsel for Settling

      Distributors) that the Fee Panel deems appropriate”). The Fee Panel pursued this option, conducting

      interviews with many individuals. The interviews were of the following three different types.



             1.      Interviews about Other Applicants.

             As noted above, the Fee Application asked applicants to list other plaintiffs’ attorneys whom

      the applicant believed most contributed to the common benefit, and why. After reading these lists

      and narratives, the Fee Panel determined the topic merited further inquiry. Accordingly, the Panel

      arranged to interview numerous attorneys who had leadership roles (e.g., members of the Plaintiffs

      Executive Committee (“PEC”), and heads of other plaintiff committees or teams), or who worked

      directly with many other applicants (e.g., members of a bellwether trial team); and interviewees were

      limited to telling the Fee Panel about the common benefit work of other applicants. In addition to

      engaging in lengthy conversation, the Panel also asked these interviewees to fill out “report cards,”




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      assigning grades ranging from A to G to other applicants, and adding any comments.8

             These interviews and report cards, combined with the lists applicants included in their

      applications, provided the Panel with a wealth of highly relevant information about many of the

      qualitative Exhibit R factors.



             2.      Interviews with Applicants.

             The Fee Panel then gave numerous applicants an opportunity to talk about their own common

      benefit work. Specifically, the Panel interviewed each applicant that claimed more than 4,000 hours

      of common benefit time, or about 42 of the 97 applicants. These interviews combined to provide

      the Panel with a comprehensive panorama, showing nearly all the work done in the MDL, who did

      it, the extent to which it did (or did not) inure to the common of all plaintiffs, and how it all fit

      together.

             Equally important, these interviews gave the Panel a chance to ask clarifying questions and



             8
                 Interviewees were also given a “key” to applying the grades. A few representative grades
      are quoted below:
               A = Was a senior leader providing maximum senior leadership effort in terms of intensity,
      consistency, and duration relative to all other common benefit counsel, taking primary responsibility
      for the entire litigation to accomplish the overarching common goals of all Plaintiffs, engaging in
      overall strategic planning since the inception of the litigation, organizing others and/or leading one
      or more teams of common benefit attorneys, providing consistent material common benefit
      contributions, virtually full-time for much of the litigation, and will likely continue to assume a key
      leadership role for several more years.
               C = Was a leader taking primary responsibility to accomplish the overarching common goals
      of all Plaintiffs, was heavily relied upon by other Plaintiff Leaders, and provided consistent material
      common benefit contributions, full-time at times, from inception of the litigation.
               F = Made isolated material common benefit contributions, but mostly “monitored” the
      material common benefit efforts of other firms and performed some document review.
               G = Made no known material common benefit contribution to the litigation.
      See docket no. 4344 at 9-10 (providing grade descriptions in a different order).

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      even to challenge applicants. This was necessary in order to expose counterproductive activity. One

      factor the Panel examined was the extent to which an applicant engaged in conduct that inured to

      the “common detriment” of the plaintiff Subdivisions and Tribes, or to the settlement process, itself.9

      Exhibit R repeatedly directs the Panel to assess this factor, and gives examples of such conduct: (1)

      “contribut[ing] to . . . reducing . . . the Initial Participation Tier;” (2) “contribut[ing] to . . . reducing

      . . . the amounts achieved under Incentive Payments A-D;” (3) “contribut[ing] to . . . the potential

      triggering of any suspension, reduction, or offset of Payment amounts;” (4) “representing a Non-

      Participating Subdivision;” (5) “[r]epresenting Later Litigating Subdivisions;” and (6) continued

      “litigating after the announcement of the [Settlement] Agreement, . . . potentially resulting [in] a

      common detriment to the settlement process.” See §II.C.4 at R%5 and §II.H.3.w at R%16.

              Other examples of inimical activity the Panel weighed include “non-team conduct” that made

      litigation or settlement more complicated, difficult, or expensive. Examples are: (1) advancing

      individual benefit at the expense of common benefit; (2) hoarding information; (3) engaging in

      needlessly obstructionist behavior; (4) pursuing actual or potential conflicts of interest; (5) initiating

      litigation after global settlements were announced; and (6) submitting excessive hours, especially

      for document review (discussed further below in Section IV.B.3). The Panel generally learned about

      such conduct through its own audits, investigations, and applicant interviews. Having gained this

      information beforehand, the Panel could then ask probing questions of applicants about themselves.

      This process provided the Panel with meaningful information about many of the qualitative Exhibit

      R factors.


              9
               The concept of assessing “common detriment” when deciding attorney fee awards first
      appeared in the literature in a fee order issued by this Court. See In re Sulzer Hip Prosthesis & Knee
      Prosthesis Liab. Litig., 268 F. Supp. 2d 907, 910 n.1 (N.D. Ohio 2003).

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             3.      Interviews of References.

             As noted above, the Fee Application asked applicants to list up to ten references. Often,

      these references were other applicants. In order to systematize receipt of information from

      references, the Auditor created a master chart, so the Panel had a list of all references and all the

      applicants who had named them. This allowed the Panel to ask each interviewee their opinion of

      all the applicants who had named them as a reference. The process ensured that the Panel actually

      asked each applicant that was listed as a reference about each person who listed them.

             This reference information was, as a general matter, not as useful as other information gained

      during interviews, but it still helped round out the Panel’s understanding.

             In addition to named references who were themselves applicants, numerous references were

      individuals who played important roles in the MDL but were otherwise strangers to the application

      process. This included defense counsel, assistant attorneys general, state court litigators, client

      representatives, and so on. The Panel arranged to interview many of these individuals as well,

      especially if they were named as references by more than one applicant. These individuals shared

      different and helpful perspectives and certainly added to the Panel’s understanding of the extent to

      which applicants did work that inured to the plaintiffs’ common benefit.



             4.      Summarizing Interviews and References.

             The amount of information the Panel gleaned from its interviews was massive. It was

      important for the Panel not merely to gather this information, but to use it. Thus, it is worth noting

      that the Panel collated and organized all of the interview and reference information, so that the Panel

      could review it “by applicant,” alongside each applicant’s Fee Application and associated Time


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      Reports.

             In sum, the Fee Panel gathered and made easily accessible to itself an enormous amount of

      material reflecting thoroughly on all of the factors regarding which it must and may “give

      consideration in regard to Common Benefit awards.” Exhibit R §II.H.3 at R%15. The following

      Section describes some of the ways the Panel then used this information to determine its Common

      Benefit Fee Awards.



      IV.     Using the Information Gathered to Determine Common Benefit Fee Awards.

             The leading treatise on attorney fee awards from common benefit funds explains the two

      most commonly-used approaches:

                      Courts generally employ one of two methods in determining fee awards in
             common fund class action cases: the percentage method (which awards counsel a fee
             in relation to the benefit achieved for the class) or the lodestar method (which awards
             counsel a fee in relation to their hours and hourly billing rates). Today, many courts
             use a combination of these two approaches—a percentage approach with a lodestar
             cross-check.

      5 Newberg and Rubenstein on Class Actions §15:63 (6th ed. 2022).

             In this case, the percentage method was essentially undertaken by the settling parties,

      themselves, when they negotiated their settlement agreements. Specifically, each of the seven global

      Subdivision Settlement Agreements provides for certain amounts to be paid into an Attorney Fee

      Fund, which in turn consists of a Contingent Fee sub-fund and Common Benefit Fee sub-fund. As

      an example, the global Subdivision Settlement Agreement with Teva has a total value of $4.247

      Billion; the Attorney Fee Fund has a value of $313.3 Million, or 7.4%; and the Common Benefit

      sub-fund has a value of $188.0 Million, which is 60% of the Attorney Fee Fund. The MDL Court


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      approved the attorney fee fund percentages for each Settlement Agreement, see, e.g., docket nos.

      3828, 5079, & 5088; and those percentages are within the normal range of settlements of similar

      size.10

                The Fee Panel’s assignment is to recommend allocation of all of the money in the Common

      Benefit Fee Funds amongst the 97 applicants, based on the factors in Exhibit R. To do so, the Panel

      undertook a modified lodestar approach. As described more fully below, this approach involved

      calculating approved, normalized lodestars for each applicant, and then applying the Exhibit R

      factors to arrive at an individualized multiplier for each applicant.



                A.     Approved, Normalized Lodestars.

                Lodestars are made up of two components: the time billed, and the hourly rate. With their

      Time Reports mentioned above, each applicant submitted lodestar information – that is, (1) their

      time records for all claimed common benefit work, and (2) their stated hourly rates for each worker.

      Because the applicants took disparate approaches, however, the Panel took the following steps to

      convert each applicant’s submitted lodestar information into an “approved, normalized lodestar.”

                First, as discussed in Section III.A above, the Panel did not approve certain time entries for

      a variety of reasons, including because the time did not actually inure to the common benefit of all

      plaintiffs. The overall average for all applicants of unapproved time was material. The percent


                10
                 See Manual Complex Lit. §14.121 (4th ed. 2004) (“One court’s survey of fee awards in
      class actions with recoveries exceeding $100 million found fee percentages ranging from 4.1% to
      17.92%.”); 5 Newberg and Rubenstein on Class Actions § 15:81 (6th ed. 2022) (“In one study, the
      average award for [class settlements] under $750,000 was 28.8%, while the average award for [class
      settlements] over $72.5 million was 18.4%; as the recoveries increased over $72.5 million, the
      [percentage decrease] continued, with recoveries up to $100 million receiving a 23.7% fee on
      average, while those with $1 billion or more received 13.7%.”)

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      unapproved on an individual basis ranged from 100% (none of the applicant’s claimed time was

      actually common benefit time) to 0% (all of applicant’s claimed time was actually common benefit

      time).11

                 Next, the Panel examined the hourly rates used by each applicant. These rates varied widely.

      For example, the rates applicants used for a paralegal ranged from $30 per hour to $535 per hour;

      the rates used for an attorney doing Tier-1 document review ranged from $44 per hour to $1,100 per

      hour; the rates used for an attorney with 5 years or less of experience ranged from $150 - $1,000

      per hour; and the rates used for an attorney with 15 or more years of experience ranged from $150 -

      $1,800 per hour.

                 To address these disparities, the Panel “normalized” hourly rates for all applicants by

      establishing and applying ten standard rates, based on job description and/or years of attorney




                 11
                  The sum of all applicants’ approved lodestars is about $1.7 Billion. The total funds
      available for Common Benefit Fee Awards is about $2.13 Billion. This means the maximum
      possible aggregate lodestar multiplier is 1.25. See 5 Newberg and Rubenstein on Class Actions §
      15:89 (6th ed. 2022) (listing three studies showing mean lodestar multipliers of 1.81, 1.42, and 1.48);
      Stuart J. Logan, Dr. Jack Moshman & Beverly C. Moore, Jr., Attorney Fee Awards in Common Fund
      Class Actions, 24 Class Action Reports (March–April 2003) (a survey of common benefit fee awards
      in 1,120 class action cases showed that courts’ effective multipliers averaged: (a) 3.89 across all
      1,120 cases, (b) 4.50 across the 64 cases where the recovery exceeded $100 million, and (c) 2.97
      across the 10 mass tort cases).

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      experience. The standard rates the Panel established are shown in the following chart.12

                       Attorney Level                                 Standardized Hourly Rate
       Paralegal                                           $200
       Attorney Doc. Review Tier 1                         $150
       Attorney Doc. Review Tier 2                         $250
       Attorney Doc. Review – Plaintiff Production           $150
       Attorney 0-5 years                                  $385
       Attorney 5-10 years                                 $575
       Attorney 10-15 years                                $700
       Attorney 15+ years                                  $925
       PEC Member                                            $1,100
       Senior PEC Member                                     $1,500

             This normalization method worked to cap approved attorney rates, but did not augment an

      attorney’s submitted rate (unless they were on the PEC). In other words, if an attorney with 12 years

      of experience used an hourly rate of $600, the Panel used this rate for the lodestar calculation; but

      if the same attorney used an hourly rate of $800, the Panel used the lower, standard rate of $700.



             12
                 The chosen standard rates were based on an examination of: (1) the median of all
      submitted rates, by attorney level and category of work performed; (2) the attorney fee information
      compiled in two recent MDLs by Professor William Rubenstein, see In Re: Facebook, Inc.
      Consumer Privacy User Profile Litig., case no. 18-md-02843, docket no. 1140-6 (N.D. Cal. Oct. 3,
      2023), and Nat’l Veterans Legal Services Program v. United States of America, case no. 16-cv-0745
      (D.D.C. Aug. 28, 2023), docket no. 160-2; and (3) the Fitzpatrick Matrix, see
      https://www.justice.gov/usao-dc/page/file/1189846/download. Given the national nature of this
      MDL and the fact that the value of the work performed was independent of any attorney’s locale,
      the Panel used the same normalized rates for all attorneys without regard to local market rates. Of
      course, the fact of normalization, itself, is much more important than the standard rates used for
      normalization. Given that the size of the pot of common benefit fees is fixed, such that the aggregate
      approved lodestar multiplier must be less than 1.25, fairness across applicants inheres in realistically
      standardizing their rates, whether low or high.

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      The effect of hourly rate normalization overall, for all applicants, was to decrease the total of

      approved lodestars by 30.5%; but the decrease on an individual applicant basis ranged from 0.0%

      to 60.9%.

             In sum, the Panel examined carefully both components of each applicant’s lodestar, and then

      reduced both the time billed and the hourly rates where appropriate. This process of calculating an

      “approved, normalized lodestar” ensures that the Panel’s recommended Common Benefit Fee

      Awards: (1) are based only on work that truly inured to the common benefit; and (2) assigns similar

      value to similarly-situated counsel.



             B.      Applying the Exhibit R Factors to the Lodestar.

             After determining each applicant’s approved normalized lodestar, the Panel then considered

      all of the Exhibit R factors for each applicant. By doing so, the Panel essentially undertook a

      multiplier analysis for each applicant, increasing each applicant’s individual multiplier for some

      factors and decreasing it for others.

             Although the Panel considered all Exhibit R factors, a few of them were more important than

      the rest. The discussion below explains how the Panel assessed and applied a few of these weightier

      factors. Ultimately, an applicant’s Common Benefit Fee Award is explained and determined to a

      very high degree by: (1) the applicant’s approved, normalized lodestar (as described in Section IV.A

      above), and (2) the handful of factors discussed below. The other Exhibit R factors were less




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      weighty in the Panel’s analysis, or simply did not change most applicants’ multipliers.13



             1.      Skill, Value, and Leadership.

             The most important set of factors weighed by the Panel was: (a) the applicant’s skill required

      to perform the legal work, (b) the depth and breadth and length of leadership the applicant showed,

      and (c) the common benefit value that the applicant’s work provided. As described earlier in Section

      III, the Panel collected and methodically reviewed an enormous amount of information related to

      these qualitative factors. The Panel’s consideration of all of this material was thorough, and the

      Panel’s internal debate on the relative value of each applicant’s work was vigorous. Specifically,

      each Panelist undertook review and analysis of all of the applications and other materials separately;

      and then divided applicants into general award-level groups, and then sub-divided again, and

      sometimes moved an applicant from one group to another, and then sub-divided again and again,

      to finally obtain their own rank-ordered list. The Panelists then came together and compared their

      results. The differences were surprisingly few. The Panel then worked together to sift its results

      further – discussed each applicant, reviewed all interview notes, surveyed “grades” and comments,

      examined time records, and shared different observations and perspectives.

             Through this process, the Panel assessed in detail the intensity, consistency, sophistication,

      and duration of each applicant’s efforts, the level of responsibility and organization it shouldered,

      the leadership it displayed, and the success of the strategic planning it undertook. As it went


             13
                 An example of a factor the Panel concluded did not carry much weight is the Johnson
      factor of “the nature and length of the [applicant’s] professional relationship with its client[s].” An
      example of a factor that, while important, did not change the multiplier of virtually any applicant
      is the Johnson factor of “the undesirability of the cases,” because this factor applies essentially
      equally to every applicant.

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      applicant by applicant, the Panel reevaluated each individual applicant’s contribution numerous

      times, both in isolation and in comparison with the work of all other applicants.

              It was certainly both art and science to calibrate each applicant’s multiplier based on the skill

      it displayed, the leadership it showed, and the litigation and settlement efforts it undertook to create

      the global settlement funds. In the end, the Panel is confident its assessments were honed by

      repeated review and comparison, discussion, and refinement.



              2.      “Other” Compensation.

              Another factor the Panel deemed very important is the total amount of compensation an

      applicant expects to receive for its work pursuing opioid claims, other than this Panel’s Common

      Benefit Fee Award. This “other compensation” may include: (1) contingent fees payable in cases

      brought on behalf of Subdivisions and Tribes (whether through this MDL, in State court, or any

      other opioid litigation); (2) contingent fees payable in cases brought on behalf of States and other

      species of plaintiff (again, in State or federal court); (3) State court common benefit fees; (4)

      payments through State Back-Stops; and (5) any other compensation related to work on opioid cases.

              That this “other compensation” factor is important is highlighted by Exhibit R, itself, which

      addresses the topic at least twice. The very first eligibility criterion listed in Exhibit R mandates an

      applicant must make a thorough disclosure of all expected compensation connected to opioid

      litigation:

              In connection with the process to be developed by the Fee Panel, any and all monies
              in attorney’s fees, including referral fees, expenses paid, promises for payment, or
              any other Fee Entitlement, to any applicant in any opioid litigation shall be disclosed
              to the Fee Panel as a condition of participating in the Attorney Fee Fund and prior
              to an award from the Fee Panel. Any payment, expectation of payment or perceived

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                entitlement to participate in a State Back-Stop Agreement or any other agreement
                reached with a Settling State or any Subdivision or any other source regarding
                payment of fees must be disclosed to the Fee Panel. Similarly, any right to payment
                from any other fund, for example a fund for payment to lawyers representing
                Settling States or Tribal Nations or Subdivisions shall be disclosed to the Fee Panel.

      Exhibit R §II.G.1 at R%11-12 (emphasis added). And the same factor is identified again in §II.C.4

      at R%5:

                The Fee Panel may also consider additional fee recoveries the Attorney may
                potentially obtain, including, but not limited to, from State Back-Stop Agreements,
                representations of States or Tribal Nations, representations of other clients in
                opioids-related matters, or through the representation of Subdivision clients, whether
                they participated in the Distributor Agreement or not.

      Underlying these provisions is the overarching ethical rule that “[a] lawyer shall not make an

      agreement for, charge, or collect an unreasonable fee.” Model Rules of Professional Conduct 1.5(a).

      Thus, the true measure of each applicant’s compensation is not simply the ratio of their Common

      Benefit Fee Award to their normalized, approved lodestar. Rather, the appropriate measure under

      Model Rule 1.5(a), and Exhibit R, is the Common Benefit Fee Award plus all other compensation.

                On the flipside, the Panel also examined the amounts that applicants could have received,

      had they not waived their contingent fee contracts. See Exhibit R §II.H.3.g at R%15 and §II.H.3.q

      at R%16.

                Of course, the Panel did not apply a “one-to-one” reduction or increase of a recommended

      Common Benefit Fee Award based on the amounts of “other compensation” an applicant received

      or waived. Rather, the Panel examined both the absolute amounts and the ratios of the following

      elements: (1) the applicant’s approved, normalized lodestar; (2) the amount of “other compensation”

      the applicant expects to receive; and (3) the amount of “other compensation” the applicant was


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      entitled to receive but waived. The Panel then increased Common Benefit Fee Awards to applicants

      who received relatively small amounts of “other compensation” relative to their common benefit

      work, and decreased Common Benefit Fee Awards to applicants who received relatively large

      amounts of “other compensation.” This is appropriate because “other compensation” is to some

      degree also partial payment for common benefit efforts.



             3.      Common Detriment, Firm Commitment, and Document Review.

             The Panel also carefully examined the following factors.



                     a.      Common Detriment.

             As discussed above in Section III.C.2, the Panel considered the extent to which an applicant

      engaged in conduct that inured to the “common detriment” of the plaintiff Subdivisions and Tribes,

      or to the settlement process, itself. Each applicant, of course, was and should be committed to the

      interests of its own clients. And it is unavoidable that the many plaintiffs’ attorneys working

      together in this MDL will have different opinions on litigation strategy, the sufficiency of proposed

      settlement terms, direction of leadership, and so on. Indeed, a lone, dissenting opinion can inure to

      the common benefit by convincing others that a settlement offer can be improved, or that a different

      litigation tactic or approach should be pursued. At some point, however, an attorney’s pursuit of

      individualized interest can work to the detriment of the plaintiffs’ common interest. Examples are

      when an attorney does not merely voice a dissenting view, but obstructs all others unreasonably for

      not adopting it; or when an attorney seeks or obtains outsized benefits for their clients (and

      themselves), risking or actually causing costs to everyone else.


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                     b.       Firm Commitment.

             The Panel asked applicants, in their written applications, to “provide the estimated

      percentage of total billable time the Law Firm spent on Opioid Litigation, by year (that is, how much

      of the Law Firm’s total billable time was spent on Opioid Litigation versus other matters).” This

      question was directed at the fourth Johnson factor – the preclusion of other employment.

      Applicants’ answers also provided a measure of the risk the applicant endured. For example, the

      Panel took it into account if the applicant risked an unusually high percentage of time pursuing the

      novel public nuisance claims in this MDL, the outcome of which was far from guaranteed. See In

      re Sulzer, 268 F. Supp.2d at 922 (“enhancement of the lodestar with a multiplier ‘can serve as a

      means to account for the risk an attorney assumes in undertaking a case, the quality of the attorney’s

      work product, and the public benefit achieved’”) (quoting Rawlings v. Prudential-Bache Properties,

      Inc., 9 F.3d 513, 516 (6th Cir. 1993)).

             Similarly, the Panel examined applicants’ financial commitments to the litigation, including

      PEC assessments and other litigation expenses. The applicants supplied these funds in support of

      global MDL claims without any guarantee of eventual reimbursement. The Panel accounted for

      when an applicant fronted a substantial amount of funds to allow the litigation to progress.



                     c.      Document Review.

             The topic of document review (“doc-review”) does not appear in any of the factors explicitly

      listed in Exhibit R. And assessing the value of time spent on doc-review is already a sub-part of the

      lodestar analysis. Nonetheless, the Panel believed this topic deserved special attention in its analysis

      and multiplier evaluation. Common benefit fee awards must be based only upon: (1) actual and


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      legitimate work performed, (2) that inured to the benefit of all plaintiffs, (3) at reasonable rates of

      compensation.     The Panel scrutinized applicant’s doc-review time to ensure it met these

      requirements.

             As described in Section IV.A, when the Panel calculated each applicant’s “approved,

      normalized lodestar,” the Panel addressed doc-review time in two ways. First, the Panel did not

      approve any such time if it did not inure to the common benefit. As an example, doc-review time

      was not approved if the documents being reviewed were relevant only to an individual state court

      case and not the MDL generally. The overall average of unapproved doc-review time for all

      applicants was 8.6%, but the percent unapproved on an individual basis ranged from 100% (none

      of the applicant’s claimed doc-review time was actually common benefit time) to 0% (all of

      applicant’s claimed doc-review time was actually common benefit time).

             Second, the Panel normalized the hourly rates allowed for document review. As noted

      earlier, doc-review hourly rates used by applicants ranged from $44 to $1,100. The Panel

      normalized these rates at $150 for Tier 1 doc-review and $250 for Tier 2.

             The Panel also became concerned when additional audit of doc-review time of some

      applicants revealed irregularities, including individual doc-reviewers who: (1) claimed grossly

      excessive time; (2) claimed an identical number of hours billed for many, many days in a row; and

      (3) submitted identical doc-review time to two different law firms.

             To address these concerns, the Panel applied a small reduction to the multiplier of a few

      applicants. The Panel considered but rejected the idea of docking any applicant for all of its

      doc-review time due to the irregularities mentioned above, although the Panel believes it was and

      remains within its discretion (and the Court’s discretion) to do so.


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             D.      Summary.

             In sum, the Fee Panel examined vast amounts of qualitative and quantitative information in

      order to calculate for each individual applicant an approved, normalized lodestar, and then to apply

      the Exhibit R factors to determine for each applicant an individualized multiplier. The preliminary

      recommended Common Benefit Fee Awards listed in the Award Chart are the result of this effort.



      V.     Holdback.

             As described in the following Section, applicants have the right to object to the Panel’s

      preliminary recommendations, and then the right to appeal the Panel’s final recommendations to the

      MDL Court. The ultimate decision on each applicant’s Common Benefit Fee Award will be made

      by the MDL Court.

             To provide for the possibility of successful objection or appeal, the Panel has designated a

      10% share of the Common Benefit Fee Funds as a temporary “holdback.” If an applicant convinces

      the Panel and/or the MDL Court that it is appropriate to increase their recommended Award, then

      the Panel or the MDL Court may designate a portion of the “holdback” to make up this increase.

      The remaining holdback share will then be divided pro rata among all applicants, so all of the

      Common Benefit Fee Funds will be distributed.

             Column 1 in the Award Chart shows each applicant’s preliminary recommended Award.

      These will be the final awards if there are no objections or appeals and the 10% holdback is divided

      pro rata. Column 2 in the Award Chart shows each applicant’s preliminary recommended Award

      after applying the 10% holdback.




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      VI.     Objection and Appeal.

              In its Protocols Order (docket no. 4344), the MDL Court set out the procedures for objecting

      to and appealing the Panel’s recommended Common Benefit Fee Awards. For the convenience of

      applicants, these procedures are reiterated below in relevant part, with the addition of deadlines and

      minor amendments.



      Award Chart

              The Protocols Order states that, “[a]fter deliberation, the Fee Panel shall issue their

      preliminary fee allocation recommendation in writing to all Fee Applicants. The preliminary fee

      allocation recommendation shall contain a list of all Fee Applicants and their corresponding fee

      allocations. (Thus, a Fee Applicant would see not only its own preliminary fee allocation

      recommendation, but also those of every other Fee Applicant.)” Docket no. 4344 at 9.

              In the Award Chart at the end of this Order, the Fee Panel sets out its preliminary

      recommended Common Benefit Fee Awards.                As noted earlier, the Panel’s preliminary

      recommendations are shared confidentially only with applicants at this time; the Panel will file its

      final recommendations on the MDL docket, after addressing any objections it may receive.



      Objections

              The Protocols Order states that “Fee Applicants shall have [at least] 30 days to submit to the

      Fee Panel confidential written objections to the Fee Panel’s preliminary fee allocation

      recommendation.” Id. at 10. The deadline for submission of objections to the Panel is April 3,

      2024.


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             The fee for an applicant to submit an objection is $50,000. Of this amount, (a) $50,000 will

      be refunded if the Panel concludes the objection is well-taken; (b) $25,000 will be refunded if the

      Panel overrules the objection; and (c) nothing will be refunded if the Panel deems the objection

      frivolous.

             Objectors must submit a written objection, and shall then meet with the Panel in person at

      a time to be determined at the federal Courthouse in Cleveland14 on May 7 - 9, 2024. Written

      objections may be submitted by logging into the Crosslink application and selecting “Object to

      Preliminary Fee Award” in the Preliminary Common Benefit Fee Award Recommendation task.

      Objectors must submit the required Notice of Objection Form and pay the administrative Objection

      Fee. Applicants who fail to fulfil all requirements will be deemed to have waived any objection.

             The Panel will publish to all applicants a list of those applicants that submit an objection.

      The Panel may resolve an applicant’s objection by increasing, decreasing, or leaving unchanged the

      applicant’s preliminary recommended Award.

             The Panel makes clear here that an applicant may not appeal their award to the MDL

      Court unless they first timely submit and pursue an objection with the Panel.

             The Protocols Order continues as follows:

                    A Fee Applicant may only object to its own fee award. Fee Applicants filing

          a written objection shall include:

                    A.     A statement that the fee allocation recommendation is disputed;

                    B.     The basis and reasoning for the dispute, including a discussion of
                           any applicable case law;



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                   Carl B. Stokes U.S. Court House, 801 West Superior Avenue, Cleveland, OH 44113.

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                  C.      A proposed resolution; and

                  D.      A request15 to appear before the Fee Panel either via Zoom or in
                          person, including the name(s) of the individuals who will be
                          appearing on behalf of the Fee Applicant. If the objecting Fee
                          Applicant requests to have more than two people from its firm in
                          attendance at the hearing, the Fee Applicant must explain why each
                          person’s presence is necessary.

          Upon receipt of the Fee Applicant’s notice of objection, the Fee Panel shall provide

          written notice of receipt of the objection, the names of those individuals whom the

          Fee Panel has authorized to appear at the hearing on behalf of the Fee Applicant,

          and the date, time, and location (in-person or via Zoom) for the hearing. The

          hearings shall be conducted in the presence of a court reporter. The transcript shall

          be for the use of only the Fee Panel and the Court. If the Fee Panel concludes the

          objection is frivolous or in bad faith, it may reduce the Fee Applicant’s award.

                  Upon conclusion of all Fee Applicant objector hearings, the Fee Panel shall

          deliberate and file with the Court their final common benefit attorney fee allocation

          recommendations and shall provide notice to all Fee Applicants.

      Id. at 10 (footnote omitted).

             In compliance with the last paragraph quoted, the Panel will file on the MDL docket a copy

      of this Order and a chart showing its final recommended Common Benefit Fee Awards.




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               As noted above, an in-person meeting with the Panel is required of any objector. These
      meetings will be scheduled for May 7 - 9, 2024, at the federal Courthouse in Cleveland.

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      Information Available to Applicants during Objection or Appeal.

             The Protocols Order states that “[a]ll information exchanged between the Fee Panel and

      others (including Fee Applicants, Leadership Attorneys, the Fee Committee, or the Auditor) will be

      treated by all participants as confidential and will not be disclosed to any person other than members

      of the Fee Panel; and no member of the Fee Panel shall share with any lawyer information obtained

      from another Fee Application, any interview, or any related submission. None of the Fee Panel

      meetings, interviews, fee applications, or related submissions or materials, including the Auditor’s

      reports, are subject to discovery.” Id. at 8.



      Appeal of Fee Panel Allocation Recommendation

             The Protocols Order states that “[t]he Court will set forth, at the appropriate time, the

      process by which Fee Applicants may appeal to the Court the final fee allocation recommendation

      of the Fee Panel, including the deadline for filing notice with the Court. Any appeal of the Fee

      Panel’s final fee allocation recommendation shall be reviewed by the Court under an abuse of

      discretion standard.” Id. at 11; see also Exhibit R §II.B.4 at R%4 (“Any appeal of an award of the

      Fee Panel from the Common Benefit Fund will be made to the MDL Court and be reviewed under

      an abuse of discretion standard.”).

             “The Court has plenary authority regarding the awarding of common benefit attorneys’ fees

      and will make the final determination of an approved distribution of fees from the Fee Fund.”

      Protocols Order, docket no. 4344 at 11.




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      VII.    Conclusion.

              With this Order, the Fee Panel sets out its preliminary Common Benefit Fee Award

      recommendations associated with the global Subdivision and Tribal Settlement Agreements with

      nine defendants: Janssen; Cardinal Health; McKesson; AmerisourceBergen (n/k/a Cencora); Teva;

      Allergan; CVS; Walgreens; and Walmart.

              The Panel’s process involved gathering enormous amounts of relevant information, carefully

      weighing and re-weighing and applying the many relevant factors, and finally determining as

      carefully as it could the recommended Awards. The process was extremely demanding and complex

      and required many, many difficult judgments. The Panel is mindful of the Johnson court’s

      prediction that “in all probability [the final fee award] decision will be totally satisfactory to no

      one.” Johnson v. Georgia Highway Exp., Inc., 488 F.2d 714, 720 (5th Cir. 1974).

              In sum, the preliminary awards shown in the Award Chart are calibrated carefully to reward

      each applicant’s common benefit work with an appropriate allocation. The Panel thanks the Court

      for its patience and trust.

                                                            /s/     David R. Cohen
                                                                    Randi S. Ellis
                                                                    David R. Herndon
                                                                    FEE PANEL
      Dated: February 29, 2024




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                                                    AWARD CHART
                                                            CONFIDENTIAL

                                                                                                 Preliminary
Rubris Claim                                                               Preliminary
                                       Firm                                                 Recommended Award
    No.                                                                Recommended Award
                                                                                           After Holding Back 10%

CL-162475      Andrus Anderson, LLP                                           0.3231872%              0.2908684%
CL-163974      Baird, Mandalas, Brockstedt Federico Cardea, LLC               0.0039408%              0.0035467%
CL-166272      Bertram & Graf, L.L.C.                                         0.0017470%              0.0015723%
CL-162481      Blasingame, Burch, Garrard & Ashley, PC                        0.0239399%              0.0215459%
CL-162565      Boies Schiller Flexner LLP                                     0.2508739%              0.2257865%
CL-162684      Boni, Zack & Snyder, LLC                                       0.0000000%              0.0000000%
CL-163969      Brown Rudnick LLP                                              0.0747140%              0.0672426%
CL-166364      Bryant Law Center                                              0.0000000%              0.0000000%
CL-162575      Carella, Byrne, Cecchi, Olstein, Brody & Agnello P.C.          1.8121368%              1.6309231%
CL-162436      Carey Danis & Lowe                                             0.1574967%              0.1417470%
CL-162476      Casey Gerry Schenk Francavilla Blatt & Penfield LLP            0.0786394%              0.0707755%
CL-166361      Cates Law Firm, LLC                                            0.0000000%              0.0000000%
CL-163666      Chadwick and Associates, PLLC                                  0.0003602%              0.0003242%
CL-162577      Cicala Law Firm PLLC                                           0.2426002%              0.2183402%
CL-162438      Cohen & Malad, LLP                                             0.1580404%              0.1422364%
CL-163664      Cohen Milstein Sellers & Toll PLLC                             0.2982140%              0.2683926%
CL-162681      Crueger Dickinson, LLC                                         1.1861753%              1.0675578%
CL-166362      Danenhower Law Firm, LLC                                       0.0000000%              0.0000000%
CL-166271      Dewsnup, King, Olsen, Worel, Havas, Mortensen, Milne           0.0000000%              0.0000000%
CL-164963      Dicello, Levitt, Gutzler                                       0.0000000%              0.0000000%
CL-166274      Dugan Law Firm                                                 0.2947796%              0.2653017%
CL-162432      Fields Han Cunniff PLLC                                        0.1020146%              0.0918131%
CL-162437      Fitzsimmons Law Firm, PLLC                                     0.1912015%              0.1720814%
CL-166294      Frazer PLC                                                     0.1822503%              0.1640252%
CL-164721      Friedman, Dazzio & Zulanas, P.C.                               0.0000000%              0.0000000%
CL-163667      Gilbert LLP                                                    0.2350367%              0.2115330%
CL-163972      Goldstein & Russell, P.C.                                      0.0000000%              0.0000000%
CL-163971      Gray and White                                                 0.2131027%              0.1917924%
CL-166273      Hagens Berman Sobol Shapiro LLP                                0.1699187%              0.1529268%
CL-162490      Hendy Johnson Vaughn Emery                                     0.0167537%              0.0150783%
CL-163962      Henrichsen Law Group                                           0.0004323%              0.0003891%
CL-166201      Hobbs Straus Dean & Walker, LLP                                0.1815151%              0.1633636%
CL-163970      Holland Law Firm                                               0.0099313%              0.0089382%
CL-163539      Irpino Law Firm                                                2.3214457%              2.0893012%
CL-166276      Jinks, Crow & Dickson                                          0.0188231%              0.0169408%
CL-166385      John Young Law Firm                                            0.0025482%              0.0022934%
CL-162474      Kaufman & Canoles, P.C.                                        0.0331392%              0.0298253%
CL-163968      Keating Muething & Klekamp PLL                                 0.0541911%              0.0487720%
CL-162480      Keller Postman LLC                                             0.0061968%              0.0055771%
CL-162309      Keller Rohrback L.L.P.                                         3.0892947%              2.7803653%
CL-162431      Kopelowitz Ostrow Ferguson Weiselberg Gilbert                  0.0282051%              0.0253846%
CL-166293      Laborde Earles Law Firm                                        0.0148275%              0.0133448%
CL-165902      Lanier Law Firm                                                5.1777189%              4.6599470%
CL-581156      Law Offices of Travis R. Walker, P.A.                          0.0000000%              0.0000000%
CL-163963      Leger & Shaw                                                   0.0260039%              0.0234035%
CL-162608      Levin Sedran & Berman                                          0.0000000%              0.0000000%
CL-163554      Lieff Cabraser Heimann & Bernstein, LLP                        5.8274087%              5.2446679%
CL-166200      Magleby Cataxinos & Greenwood                                  0.0000000%              0.0000000%
CL-166258      Matthew Cate                                                   0.0000000%              0.0000000%
CL-162693      Mehri & Skalet                                                 0.0000000%              0.0000000%
CL-163967      Meyers & Flowers, LLC                                          0.0000000%              0.0000000%
CL-162571      Milberg Coleman Bryson Phillips Grossman, LLC                  0.0051513%              0.0046362%
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                                                           AWARD CHART
                                                                    CONFIDENTIAL

                                                                                                                Preliminary
Rubris Claim                                                                       Preliminary
                                            Firm                                                           Recommended Award
    No.                                                                        Recommended Award
                                                                                                          After Holding Back 10%

CL-163957       Miller Law Firm, P.C.                                                     0.5666557%                    0.5099901%
CL-166261       Mitchell & Speights LLC                                                   0.0000000%                    0.0000000%
CL-163668       Mooney Wieland PLLC                                                       0.0000000%                    0.0000000%
CL-162683       Morgan & Morgan Complex Litigation Group                                  2.3127565%                    2.0814809%
CL-171482       Moskowitz Law Firm, PLLC                                                  0.0000000%                    0.0000000%
CL-162308       Motley Rice LLC                                                          17.2008833%                   15.4807950%
CL-163537       Napoli Shkolnik, PLLC                                                     8.6994105%                    7.8294695%
CL-162497       National Consortium 1                                                    11.8521678%                   10.6669510%
CL-162570       Ochs Law Firm, LLP                                                        0.0151405%                    0.0136265%
CL-163960       Oths, Heiser, Miller, Waigand & Clagg, LLC                                0.0004313%                    0.0003882%
CL-166275       Phipps Ortiz Talafuse, PLLC                                               0.0000000%                    0.0000000%
CL-163964       Plevin & Gallucci Co, LPA                                                 0.6597969%                    0.5938172%
CL-166277       Prince, Glover & Hayes                                                    0.0037483%                    0.0033734%
CL-163538       Renne Public Law Group                                                    0.0101590%                    0.0091431%
CL-162435       Robbins Geller Rudman & Dowd LLP                                          8.4295703%                    7.5866132%
CL-162439       Robins Kaplan LLP                                                         0.5709911%                    0.5138920%
CL-162312       Robinson Calcagnie, Inc.                                                  0.7572711%                    0.6815440%
CL-164038       Robles, Rael & Anaya P.C.                                                 0.0000000%                    0.0000000%
CL-165031       Romano Law Group                                                          0.0000000%                    0.0000000%
CL-163954       Sam Bernstein Law Firm PLLC                                               0.0175846%                    0.0158262%
CL-163549       Sanford Heisler Sharp, LLP                                                0.0083353%                    0.0075018%
CL-162498       Scott & Scott Attorneys at Law, LLP                                       0.0878848%                    0.0790963%
CL-163973       Seeger Weiss LLP                                                          3.4066059%                    3.0659453%
CL-163961       Seif & McNamee, LLC                                                       0.0012196%                    0.0010977%
CL-162430       Simmons Hanly Conroy, LLC                                                11.8227800%                   10.6405020%
CL-162434       Skikos, Crawford, Skikos & Joseph                                         4.0252599%                    3.6227339%
CL-166363       Smith & Fawer, LLC                                                        0.0000000%                    0.0000000%
CL-162310       Sonosky, Chambers, Sachse, Miller, & Monkman, LLP                         0.7585733%                    0.6827160%
CL-162473       Spangenberg Shibley & Liber                                               1.3829504%                    1.2446553%
CL-163557       Stranch, Jennings & Garvey, PLLC                                          0.2954078%                    0.2658670%
CL-166292       Taft Stettinius & Hollister LLP                                           0.0585337%                    0.0526803%
CL-162682       Tate Law Group, LLC.                                                      0.0060096%                    0.0054087%
CL-172149       Texas PSC 1                                                               0.8470293%                    0.7623264%
CL-163959       von Briesen & Roper, s.c.                                                 0.0064650%                    0.0058185%
CL-164026       Wagstaff & Cartmell, LLP                                                  0.7019139%                    0.6317225%
CL-162433       Weisman Kennedy & Berris Co., LPA                                         1.2252813%                    1.1027532%
CL-162313       Weitz & Luxenberg, P.C.                                                   0.9149047%                    0.8234142%
CL-162576       Wexler, Boley & Elgersma LLP                                              0.3345951%                    0.3011356%
CL-166287       Woelfel & Woelfel, LLP                                                    0.0769857%                    0.0692871%
CL-164027       Zarzaur Law, LLC                                                          0.0825115%                    0.0742604%
CL-162477       Zashin & Rich                                                             0.0462296%                    0.0416067%

1 The National Consortium is comprised of the following firms: Baron & Budd; Farrell & Fuller LLC; Hill, Peterson, Carper, Bee &

Deitzler, PLLC; Levin, Papantonio, Rafferty, Proctor, Buchanan, O'Brien, Barr and Mougey, P.A; and Powell & Majestro, PLLC. These
firms agreed to receive a single award, to be split amongst them according to their own agreement.
